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 8
                                        UNITED STATES DISTRICT COURT
 9
                                      NORTHERN DISTRICT OF CALIFORNIA
10
                                                OAKLAND DIVISION
11
     UNITED STATES OF AMERICA,                          )   CASE NO. 4:19-cv-04281 KAW
12                                                      )
                Plaintiff,                              )   CERTIFICATE OF TRANSMISSION FOR
13                                                      )   SERVICE ON BTC-E, AfK/A CANTON
           V.                                           )   BUSINESS CORP., AND ALEXANDER VINNIK
14                                                      )
     BTC-e, a/k/a CANTON BUSINESS CORP.,                )
15                                                      )
     and                                                )
16                                                      )
     ALEXANDER VINNIK,                                  )
17                                                      )
                Defendants.                             )
18                                                      )

19              The undersigned hereby certifies that she is an employee of the United States Attorney's Office

20   for the Northern District of California and is a person of such age and discretion to be competent to

21   serve papers. On August 5, 2021, the undersigned transmitted two true and correct copies of the

22   following documents, together with two copies of French translations thereof:

23              1. Cover Letter from the United States Attorney's Office for the Northern District of
                   California to the French Central Authority, dated August 2, 2021;
24
                2. Request for Service Abroad of Judicial Documents ("Request") under the Convention
25                 on the Service Abroad of Judicial and Extrajudicial Documents in Civil or
                   Commercial Matters ("Hague Service Convention");
26
                3. Complaint (ECF No. l);
27
                4. Civil Cover Sheet (ECF No. 1-1);
28

     CERTIFICATE OF SERVICE
     4:19-CV-04281 KAW                                  1
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 1          5. Summonses Issued as to BTC-e, a/k/a Canton Business Corp., and Alexander Vinnik
               (ECFNo. 5);
 2
            6. Clerk's Notice Regarding Assignment to United States Magistrate Judge Kandis A.
 3             Westmore and Election Form (ECF No. 6);

 4          7. Standing Order for Magistrate Judge Kandis A. Westmore, Settlement Conference
               Standing Order for Magistrate Judge Kandis A. Westmore, Notice Re: Telephonic
 5             Appearance Procedures for Magistrate Judge Kandis A. Westmore and Attachment A,
               and U.S. Magistrate Judge Kandis A. Westmore Sample of Trial Exhibit Tags;
 6
            8. Standing Order for All Judges of the Northern District of California;
 7
            9. ECF Registration Information;
 8
            10. Notice of Lawsuit and Request to Waiver Service of Summons;
 9
            11. Waiver of the Service of Summons; and
10
            12. Notice of Assignment of Case to United States Magistrate Judge for Trial and
11              Election Form

12   by placing the documents listed above in a sealed FEDERAL EXPRESS envelope and affixing a prepaid

13   air bill, and causing the envelope to be delivered to a Delivery Service agent for international priority

14   delivery (Tracking No. 8112-5277-3566) to the French Central Authority designated for service under

15   the Hague Service Convention at the address below:

16          Ministere de la Justice
            Bureau de l'Entraide Judiciaire Internationale
17          13, place Vendome
            75042 Paris Cedex 01, France
18

19   The Request (Item No. 2, supra), requests that the French Central Authority, pursuant to the Hague

20   Service Convention, forward the above-listed documents to:

21          Alexander Vinnik
            La Sante Prison
22          42 Rue de la Sante
            75014 Paris, France
23

24          I declare under penalty of perjury under the laws of the United States that the foregoing is true

25   and correct.

26

27   Dated: August 5, 2021                         By:
                                                           ST            .CHIN
28                                                         Legal Assistant

     CERTIFICATE OF SERVICE
     4:19-CV-04281 KAW                                 2
